                 Case: 1:16-mj-00009-SKB Doc #: 1 Filed: 01/06/16 Page: 1 of 2 PAGEID #: 1
 AO 106 (Rev. 0411 0) Application for a Search Warrant


                                                                                                                 P'C
                                        UNITED STATES DISTRICT COURT                                                  C!   ~ ~-~!'   .
                                                                       for the
                                                                                                               ~D ' & JAN -6             PM I2:54
                                                             Southern District of Ohio

                                                                                                                 .,                       :> . ~    •0
                 In the Matter of the %6af61F<Jf                           )                                    .. - ..,; 1- l ... ·• ~ .....:•    :~TI

                                                                                                 1 ~ 1 6 {" J - 0 0 9
           (Briefly describe the property to be searched                   )
            or identify the person by name and address)                    )          Case No.
Use of a Cell-Site Simulator to Identify the Cellular Device               )
                 Used by Brian Robinson                                    )
                                                                           )

                                               APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (idemify the person or describe the
 property to be searched and give its location):

                                                         See Attachment A
 located in the              Southern              District of                 Ohio               , there is now concealed (identify the
                                                                 ----------~~----------
 person or describe the property to be seized):

                                                         See Attachment B

               The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                    ~evidence of a crime;
                    0 contraband, fruits of crime, or other items illegally possessed;
                    0 property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.

               The search is related to a violation of:
                 Code Section                                                         Offense Description
          21   u.s.c. 846                           Conspiracy to Possess with Intent to Distribute a Controlled Substance


               The application is based on these facts:
                                                           See Attached.

               0 Continued on the attached sheet.
               ~ Delayed notice of        days (give exact ending date if more than 30 days: ---------                           ) is requested
                 under 18 U.S.C. § 3103a, the basis ofwhich is set forth on the attached sheet.




                                                                                                              , Special Agent, FBI
                                                                                                 Printed name and title

  Sworn to before me and signed in my presence.


  Date:           1II {p/J&
                        I

  City and state: Cincinnati, Ohio                                               Hon.Stephanie K. Bowman, U.S. Magistrate Judge
                                                                                                 Printed name and title
  Case: 1:16-mj-00009-SKB Doc #: 1 Filed: 01/06/16 Page: 2 of 2 PAGEID #: 2




                              AO 106 Attachment



      See Affidavit in Support of an Application for a Search Warrant. To ensure
technical compliance with the Pen Register Statute, 18 U.S.C. §§ 3121-3127, this
warrant also functions as a pen register order. Consistent with the requirement for
an application for a pen register order, I certify that the information likely to be
obtained is relevant to an ongoing criminal investigation being conducted by
Federal Bureau oflnvestigation. See 18 U.S.C. §§ 3122(b), 3123(b).
